 

Case 1:19-cr-00673 Décument S@eefiedo7/23/19]in TXSD Page 1 of 10

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UNITED STATES DISTRICT COURT FILED
SOUTHERN DISTRICT OF TEXAS JUL 2 3 2019
BROWNSVILLE DIVISION

   
     

David J, Bradley, Clerk of Court
UNITED STATES OF AMERICA §

vs. § CRIMINAL NO.
ROEL ALANIS § B-19-673

SEALED
INDICTMENT

THE GRAND JURY CHARGES:
COUNT 1

INTRODUCTION
At all times material to this indictment:

The “El Valle Detention Center” (EVDC) is an immigration detention facility located
in Raymondville, Texas, and operated by the Management and Training Corporation
(MTC) under contract with Immigration and Customs Enforcement (ICE) to detain alien
immigrants awaiting disposition of immigration cases and/or removal from the United
States (U.S.).

The “Willacy County Regional Detention Center” (WCRDC) is a detention facility
located in Raymondville, Texas. VWWCRDC houses federal inmates detained by ICE and
by the United States Marshals Service.

The “Port Isabel Detention Center’ (PIDC) is an immigration detention facility
located in Los Fresnos, Texas, operated by ICE, where alien immigrants are detained
while awaiting disposition of immigration cases and/or removal from the U.S.

MTC is a private security company that provides and manages detention and

security services under contract with ICE to house ICE immigration detainees. MTC’s
Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 2 of 10

employees operate and act for, or on behalf of, ICE in official functions under the authority
of the department or agency. MTC provides services to EVDC and WCRDC.

ICE detains alien immigrants at facilities such as EVDC and PIDC, while said
aliens await further criminal or administrative processing for removal or release pending
further hearings.

“Alien Detainee Roster Lists” (Detainee Roster or Detainee Rosters) contain
names, dates of birth, country of origin, and “A numbers” of alien detainees, as well as
housing assignments. Detainee Rosters are law enforcement sensitive and are for official
use only, intended to be utilized by facility employees in the course of their official
duties. Removal of Detainee Rosters from ICE detention facilities is strictly prohibited.

ROEL ALANIS (“ALANIS”) is an attorney licensed to practice in the state of Texas
with a practice in the Rio Grande Valley, and who paid money to the co-conspirators in
return for receiving Detainee Rosters; and who would visit, or instruct others to visit, said
aliens for the purpose of hiring ALANIS’ law firm as their attorney in immigration
proceedings.

BENITO BARRIENTEZ (“BARRIENTEZ’), was employed by MTC assigned to the
WCRDC located in Raymondville, Texas, as a Classification Clerk.

DAMIAN ORTIZ (“ORTIZ”), was employed by MTC assigned to the WCRDC
located in Raymondville, Texas, as a Senior Program Director.

EXY ADELAIDA GOMEZ (“GOMEZ’), was employed by MTC assigned to the
EVDC located in Raymondville, Texas, as a Detention Officer.

THE CONSPIRACY
 

Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 3 of 10

From on or about February 10, 2018, to on or about February 6, 2019, in the
Southern District of Texas and within the jurisdiction of the Court, Defendant,

ROEL ALANIS,

did knowingly and willfully conspire and agree with persons known and unknown to the
Grand Jurors, to violate Title 18, United States Code, Sections 201(b)(1)(C) and
201(b)(2)(C), that is, the object of their conspiracy and agreement was
to corruptly give, offer, and promise a thing of value to a public official, with intent to induce
the public official to do an act in violation of official duty, and also to corruptly demand,
seek, receive, accept, and agree to receive and accept something of value personally, in
return for being induced to do an act in violation of official duty.
MANNER AND MEANS OF THE CONSPIRACY

It was a part of the conspiracy that:

BARRIENTEZ, ORTIZ, GOMEZ, and others obtained Detainee Rosters from
EVDC and PIDC detention facilities.

BARRIENTEZ and ORTIZ would provide the Detainee Rosters to ROEL ALANIS
or to others as directed by ROEL ALANIS.

ROEL ALANIS would pay ORTIZ and BARRIENTEZ for the Detainee Rosters they
would provide.

ROEL ALANIS would provide ORTIZ and BARRIENTEZ money to pay other
conspirators who also provided Detainee Rosters.

ROEL ALANIS or others at his direction, would then visit alien immigrant detainees
at detention facilities seeking employment in immigration matters.

OVERT ACTS
_ Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 4 of 10

. Onor about August 27, 2018, ROEL ALANIS received an EVDC Detainee Roster.

2. On August 28, 2018, ROEL ALANIS, provided the EVDC Detainee Roster to an
individual associated with ALANIS’ law firm via text for the purpose of having the
individual visit immigration detainees on the Detainee Roster.

3. On August 28, 2018, at the direction of ROEL ALANIS, an individual associated
with ALANIS’ law firm visited twelve (12) immigration detainees detained at EVDC,
for the purpose of convincing them to hire ROEL ALANIS’ law firm in an
immigration matter.

4. On or about September 13, 2018, ROEL ALANIS received an EVDC Detainee
Roster.

5. On September 13, 2018, ROEL ALANIS, provided the EVDC Detainee Roster to
an individual associated with ALANIS’ law firm via text for the purpose of having
the individual visit immigration detainees on the Detainee Roster.

6. On September 13, 2018, at the direction of ROEL ALANIS, an _ individual
associated with ALANIS’ law firm visited five (5) immigration detainees detained
at EVDC, for the purpose of convincing them to hire ROEL ALANIS’ law firm in an
immigration matter.

7. Onor about January 4, 2019, BARRIENTEZ called GOMEZ requesting she obtain
the EVDC Detainee Roster to give to ROEL ALANIS and in return BARRIENTEZ
would pay her $300.

8. On January 9, 2019, BARRIENTEZ called GOMEZ to say he had discussed her

payment with ROEL ALANIS and ORTIZ; all agreed that she would instead get

paid $500 for the EVDC Detainee Roster.
Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 5 of 10

9. On January 9, 2019, GOMEZ obtained the EVDC Detainee Roster while at work
at EVDC. | .

10.On January 9, 2019, GOMEZ and BARRIENTEZ met at a parking lot in Harlingen,
Texas, where GOMEZ gave the EVDC Detainee Roster to BARRIENTEZ who then
paid her $500.

11.On January 9, 2019, BARRIENTEZ and ORTIZ met at a parking lot in Lyford,
Texas, where BARRIENTEZ gave the EVDC Detainee Roster to ORTIZ.

12.In the afternoon of January 9, 2019, ORTIZ, at the direction of ROEL ALANIS,
delivered the EVDC Detainee Roster to another individual in Weslaco, Texas. This
individual then paid ORTIZ $350 for the EVDC Detainee Roster.

13. On the evening of January 9, 2019, BARRIENTEZ obtained a Detainee Roster for
PIDC from GOMEZ. BARRIENTEZ then paid GOMEZ $200 for the PIDC Detainee
Roster.

14.0n January 10, 2019, ORTIZ obtained the PIDC Detainee Roster from
BARRIENTEZ.

15.On January 10, 2019, ORTIZ gave BARRIENTEZ $400 for the PIDC Detainee
Roster.

16.On January 14, 2019, ROEL ALANIS sent a text message to ORTIZ saying he
would purchase the PIDC Detainee Roster for $1,000.

17.On January 14, 2019, ROEL ALANIS met with ORTIZ and had him drive to a
location where ROEL ALANIS took possession of the PIDC Detainee Roster and

then had another individual give ORTIZ a “red gift bag” containing $1,000.
Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 6 of 10

18.On or about January 15, 2019, at the direction of ROEL ALANIS, an individual
associated with ALANIS’ law firm visited JFB (initials), a Honduran national
detained at EVDC, for the purpose of convincing JFB to hire ROEL ALANIS’ law
firm in an immigration matter.

19.On January 22, 2019, ROEL ALANIS met with ORTIZ to discuss ROEL ALANIS’
continuing efforts to receive Detainee Rosters, steps to prevent discovery of said
purchases, and where the money transfers would occur.

20.On January 22, 2019, ROEL ALANIS sent a text message to ORTIZ to inform him
an individual, at the direction of ROEL ALANIS, would be delivering money to
ORTIZ’ residence.

21.0n January 23, 2019, an individual, at the direction of ROEL ALANIS, delivered
$500 to ORTIZ’ residence.

22.On January 31, 2019, ROEL ALANIS sent a text message to ORTIZ to encourage
ORTIZ to continue efforts to obtain Detainee Rosters which would be paid for, and
that money would be placed under a flower pot at ORTIZ’ residence.

23. January 31, 2019, an individual, at the direction of ROEL ALANIS, placed $670

under a flower pot at ORTIZ’ residence.

In violation of Title 18, United States Code, Section 371.

COUNT 2

On or about January 9, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,

ROEL ALANIS,
Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 7 of 10

did, directly and indirectly, corruptly give, offer, and promise a thing of value to a public
official, with intent to induce the public official to do an act in violation of her official duty,
that is, Benito Barrientez gave $500.00 to Exy Aldelaida Gomez, a Detention Officer, a
public official employed at the EVDC, and in return the public official provided a EVDC
Detainee Roster containing law enforcement sensitive data, including names, dates of
birth, country of origin, “A-numbers’”, and housing assignments of alien detainees.

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

COUNT 3

On or about January 9, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
ROEL ALANIS,

did, directly and indirectly, corruptly give, offer, and promise a thing of value to a public
official, with intent to induce the public official to do an act in violation of her official duty,
that is, Benito Barrientez gave $200.00 to Exy Adelaida, Gomez, a Detention Officer, a
public official employed at EVDC, and in return the public official provided a PIDC
Detainee Roster containing law enforcement sensitive data, including names, dates of
birth, country of origin, “A-numbers”, and housing assignments of alien detainees.

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

COUNT 4
On or about January 10, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 8 of 10

ROEL ALANIS,

did, directly and indirectly, corruptly give, offer, and promise a thing of value to a public
official, with intent to induce the public official to do an act in violation of his official duty,
that is, Damian Ortiz gave $400.00 to Benito Barrientez, a Classification Clerk, a public
official employed at the WCRDC detention facility, and in return the public official provided
a PIDC Detainee Roster containing law enforcement sensitive data, including names,
dates of birth, country of origin, “A-numbers”, and housing assignments of alien
detainees.

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

COUNT 5

On or about January 14, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
ROEL ALANIS,

did directly and indirectly, corruptly give, offer, and promise a thing of value to a public
Official, with intent to induce the public official to do an act in violation of his official duty,
that is, Roel Alanis gave $1,000.00 to Damian Ortiz, a Senior Program Director, a public
official employed at the EVDC, and in return the public official provided a PIDC Detainee
Roster containing law enforcement sensitive data, including names, dates of birth, country
of origin, “A-numbers”, and housing assignments of alien detainees.

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,

Untied States Code, Section 2.
Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 9 of 10

COUNT 6

On or about January 22, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
ROEL ALANIS,

did directly and indirectly, corruptly give, offer, and promise a thing of value to a public
official, with intent to induce the public official to do an act in violation of his official duty,
that is, Roel Alanis gave $500.00 to Damian Ortiz, a Senior Program Director, a public
official employed at the EVDC, and in return the public official provided a EVDC Detainee
Roster containing law enforcement sensitive data, including names, dates of birth, country
of origin, “A-numbers”, and housing assignments of alien detainees.

In violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

COUNT 7

On or about February 6, 2019, in the Southern District of Texas and within the

jurisdiction of the Court, Defendant,
ROEL ALANIS,

did directly and indirectly, corruptly give, offer, and promise a thing of value to a public
official, with intent to induce the public official to do an act in violation of his official duty,
that is, Roel Alanis gave $670.00 to a public official, and in return the public official
provided a PIDC Detainee Roster containing law enforcement sensitive data, including
names, dates of birth, country of origin, “A-numbers”, and housing assignments of alien

detainees.
Case 1:19-cr-00673 Document1 Filed on 07/23/19 in TXSD Page 10 of 10

in violation of Title 18, United States Code, Sections 201(b)(1)(C) and Title 18,
Untied States Code, Section 2.

A TRUE BILL:

 

FOREPERSON OF THE GRAND JURY

RYAN K. PATRICK
UNITED STATES ATTORNEY

CZ

Oscar Ponce
Assistant United States Attorney

10
